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       Subdivision Name           State                  Signed With Permission                      Name of At Least One Law Firm of Record       Jurisdiction      Docket Number
Stuart City                     FL        /s/ The Law Offices of Travis R. Walker, P.A.         The Law Offices of Travis R. Walker, P.A.         NDOH            1:20‐op‐45124‐DAP
City of Mishawaka               IN        /s/ Coffman Law Firm                                  Coffman Law Firm                                  NDOH            1:21‐op‐45080‐DAP
City of Hillview                KY        /s/ Coffman Law Firm                                  Coffman Law Firm                                  NDOH            1:21‐op‐45080‐DAP
City of Mt. Washington          KY        /s/ Coffman Law Firm                                  Coffman Law Firm                                  NDOH            1:21‐op‐45080‐DAP
City of Shepherdsville          KY        /s/ Coffman Law Firm                                  Coffman Law Firm                                  NDOH            1:21‐op‐45080‐DAP
Iberia Parish School Board      LA        /s/ Irpino, Avin & Hawkins                            Irpino, Avin & Hawkins                            NDOH            1:18‐op‐46245‐DAP
Iberville Parish                LA        /s/ Pendley, Baudin & Coffin, LLP                     Pendley, Baudin & Coffin, LLP                     NDOH            1:19‐op‐45140‐DAP
St. James Parish School Board   LA        /s/ Leger & Shaw                                      Leger & Shaw                                      NDOH            1:21‐op‐45034‐DAP
Acushnet Town                             /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                                MA        O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                                    1:18‐op‐45676‐DAP
Agawam Town City                          /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                                MA        O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                                    1:18‐op‐45792‐DAP
Amesbury Town City                        /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                                MA        O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                                    1:18‐op‐45678‐DAP
Aquinnah Town                             /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                                MA        O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                                    1:18‐op‐46091‐DAP
Athol Town                                /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                                MA        O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                                    1:19‐op‐45058‐DAP
Auburn Town                               /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                                MA        O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                                    1:18‐op‐45688‐DAP
Ayer Town                                 /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                                MA        O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                                    1:19‐op‐45570‐DAP
Barnstable Town City                      /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                                MA        O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                                    1:18‐op‐45862‐DAP
Belchertown Town                          /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                                MA        O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                                    1:18‐op‐45905‐DAP
Beverly City                              /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                                MA        O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                                    1:19‐op‐45219‐DAP
Billerica Town                            /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                                MA        O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                                    1:18‐op‐45560‐DAP
Brewster Town                             /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                                MA        O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                                    1:18‐op‐45556‐DAP
Bridgewater Town                          /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                                MA        O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                                    1:18‐op‐45754‐DAP
Brockton City                             /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                                MA        O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                                    1:18‐op‐46089‐DAP
Brookline Town                            /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                                MA        O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                                    1:19‐op‐45062‐DAP
Carver Town                               /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                                MA        O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                                    1:18‐op‐45691‐DAP
Charlton Town                             /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                                MA        O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                                    1:18‐op‐45689‐DAP
Chelmsford Town                           /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                                MA        O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                                    1:18‐op‐45952‐DAP
Chelsea City                              /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                                MA        O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                                    1:18‐op‐45693‐DAP
Clarksburg Town                           /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                                MA        O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                                    1:18‐op‐45882‐DAP
Clinton Town                              /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                                MA        O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                                    1:19‐op‐46072‐DAP
Danvers Town                              /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                                MA        O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                                    1:18‐op‐45760‐DAP
Dedham Town                               /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                                MA        O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                                    1:19‐op‐45039‐DAP
Dennis Town                               /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                                MA        O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                                    1:19‐op‐45124‐DAP
Douglas Town                              /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                                MA        O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                                    1:18‐op‐45706‐DAP
Dudley Town                               /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                                MA        O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                                    1:18‐op‐45707‐DAP
East Bridgewater Town                     /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                                MA        O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                                    1:18‐op‐45721‐DAP
Eastham Town                              /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                                MA        O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                                    1:18‐op‐45864‐DAP
Easthampton Town City                     /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                                MA        O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                                    1:18‐op‐45336‐DAP
Easton Town                               /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                                MA        O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                                    1:19‐op‐45920‐DAP
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Everett City                 /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45596‐DAP
Fairhaven Town               /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:19‐op‐45060‐DAP
Falmouth Town                /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐46095‐DAP
Fitchburg City          MA   /s/ Napoli Shkolnik, PLLC                             Napoli Shkolnik, PLLC                             NDOH   1:19‐op‐45030‐DAP
Freetown Town                /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45705‐DAP
Georgetown Town              /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45879‐DAP
Grafton Town                 /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45753‐DAP
Greenfield Town City         /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45017‐DAP
Hanson Town                  /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45704‐DAP
Holliston Town               /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45874‐DAP
Holyoke City                 /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45694‐DAP
Hopedale Town                /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45708‐DAP
Hull Town                    /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:19‐op‐46172‐DAP
Kingston Town                /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐46090‐DAP
Lakeville Town               /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45743‐DAP
Leicester Town               /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45709‐DAP
Leominster City              /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45710‐DAP
Leverett Town                /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45836‐DAP
Longmeadow Town              /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐46097‐DAP
Lowell City                  /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45514‐DAP
Ludlow Town                  /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45906‐DAP
Lunenburg Town               /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐46156‐DAP
Lynn City                    /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45789‐DAP
Malden City                  /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45487‐DAP
Marblehead Town              /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45791‐DAP
Marshfield Town              /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45752‐DAP
Mashpee Town                 /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45755‐DAP
Mattapoisett Town            /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45890‐DAP
Melrose City                 /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45951‐DAP
Methuen Town City            /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45106‐DAP
Middleborough Town           /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐46200‐DAP
Milford Town                 /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45783‐DAP
Millbury Town                /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐46123‐DAP
Millis Town                  /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:20‐op‐45275‐DAP
Nantucket Town               /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                        MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45703‐DAP
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New Bedford City               /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:19‐op‐45569‐DAP
Newburyport City               /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45837‐DAP
North Adams City               /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45702‐DAP
North Andover Town             /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐46159‐DAP
North Attleborough Town        /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45744‐DAP
North Reading Town             /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45856‐DAP
Northampton City               /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45337‐DAP
Northbridge Town               /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45711‐DAP
Norton Town                    /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45787‐DAP
Norwell Town                   /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45815‐DAP
Norwood Town                   /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:19‐op‐45061‐DAP
Orange Town                    /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:19‐op‐45070‐DAP
Oxford Town                    /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:19‐op‐45568‐DAP
Palmer Town City               /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45812‐DAP
Peabody City                   /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45860‐DAP
Pembroke Town                  /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45823‐DAP
Pittsfield City                /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45335‐DAP
Plainville Town                /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45808‐DAP
Plymouth Town                  /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45675‐DAP
Provincetown Town              /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:19‐op‐45125‐DAP
Rehoboth Town                  /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:19‐op‐45059‐DAP
Revere City                    /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45155‐DAP
Rockland Town                  /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45824‐DAP
Salisbury Town                 /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45595‐DAP
Sandwich Town                  /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45891‐DAP
Scituate Town                  /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:19‐op‐45063‐DAP
Seekonk Town                   /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45881‐DAP
Sheffield Town                 /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐46001‐DAP
Shirley Town                   /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45880‐DAP
Somerset Town                  /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45769‐DAP
South Hadley Town              /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐46000‐DAP
Southbridge Town City          /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45686‐DAP
Spencer Town                   /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45809‐DAP
Stoneham Town                  /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐46164‐DAP
Stoughton Town                 /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:19‐op‐45023‐DAP
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Sturbridge Town                   /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                             MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45990‐DAP
Sudbury Town                      /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                             MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45877‐DAP
Sutton Town                       /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                             MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45810‐DAP
Swampscott Town                   /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                             MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45911‐DAP
Templeton Town                    /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                             MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45784‐DAP
Tewksbury Town                    /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                             MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:19‐op‐45077‐DAP
Truro Town                        /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                             MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45816‐DAP
Tyngsborough Town                 /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                             MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45770‐DAP
Upton Town                        /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                             MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐46160‐DAP
Walpole Town                      /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                             MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐46093‐DAP
Ware Town                         /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                             MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45907‐DAP
Warren Town                       /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                             MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45811‐DAP
Watertown Town City               /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                             MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45674‐DAP
Wellfleet Town                    /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                             MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:19‐op‐45556‐DAP
West Boylston Town                /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                             MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45858‐DAP
West Bridgewater Town             /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                             MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐46102‐DAP
West Springfield Town City        /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                             MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45813‐DAP
West Tisbury Town                 /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                             MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45790‐DAP
Westborough Town                  /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                             MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45859‐DAP
Westford Town                     /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                             MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐46007‐DAP
Williamsburg Town                 /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                             MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45883‐DAP
Wilmington Town                   /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                             MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐46158‐DAP
Winchendon Town                   /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                             MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45687‐DAP
Winthrop Town City                /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                             MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45814‐DAP
Woburn City                       /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                             MA   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐45103‐DAP
                                  /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Alamogordo City
                             NM   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐46067‐DAP
                                  /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Bernalillo County
                             NM   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45301‐DAP
                                  /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Catron County
                             NM   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45320‐DAP
                                  /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Cibola County
                             NM   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45321‐DAP
                                  /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Curry County
                             NM   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45347‐DAP
                                  /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Dona Ana County
                             NM   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐46206‐DAP
Grant County                 NM   /s/ Napoli Shkolnik PLLC                              Napoli Shkolnik PLLC                              NDOH   1:19‐op‐45108
                                  /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Hidalgo County
                             NM   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐46069‐DAP
                                  /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Lea County
                             NM   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45266‐DAP
                                  /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Lincoln County
                             NM   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45513‐DAP
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                               /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
McKinley County
                          NM   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45033‐DAP
Mora County               NM   /s/ Napoli Shkolnik PLLC                              Napoli Shkolnik PLLC                              NDOH   1:17‐op‐45080‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Otero County
                          NM   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45216‐DAP
Rio Arriba County         NM   /s/ Napoli Shkolnik PLLC                              Napoli Shkolnik PLLC                              NDOH   1:18‐op‐45054‐DAP
Roosevelt County          NM   /s/ Napoli Shkolnik PLLC                              Napoli Shkolnik PLLC                              NDOH   1:18‐op‐46343‐DAP
Sandoval County           NM   /s/ Napoli Shkolnik PLLC                              Napoli Shkolnik PLLC                              NDOH   1:19‐op‐45421‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Sierra County
                          NM   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45322‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Socorro County
                          NM   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45323‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Taos County
                          NM   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45051‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Valencia County
                          NM   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45324‐DAP
Clark County              NV   /s/ Eglet Adams                                       Eglet Adams                                       NDOH   1:19‐op‐46168‐DAP
Nye County                     /s/ Levin, Papantonio, Rafferty, Proctor, Buchanan,   Levin, Papantonio, Rafferty, Proctor, Buchanan,   NDOH
                          NV   O'Brien, Barr and Mougey, P.A.                        O'Brien, Barr and Mougey, P.A.                           1:18‐op‐46238‐DAP
Union Township            PA   /s/ Levin Sedran Berman LLP                           Levin Sedran Berman LLP                           NDOH   1:18‐op‐45939‐DAP
Arlington County          VA   /s/Sanford Heisler Sharp, LLP                         Sanford Heisler Sharp, LLP                        NDOH   1:21‐op‐45078‐DAP
Buchanan County           VA   /s/ Street Law Firm                                   Street Law Firm                                   NDOH   1:19‐op‐45253‐DAP
